
SAMUELS, J.
The evidence not excepted to shows with sufficient clearness, that previous to the 1st of January 1836, John Boyce was indebted by bond to Robert I. Smith in the amount mentioned in the bond *and deed of trust of that date. Question, however, is made by the appel*355lants whether John Boyce was of sufficiently sound mind at that time to execute the bond and deed. The evidence clearly proves that the grantor at that time and before was laboring under monomania, but upon a subject in nowise connected with affairs, of this nature; that he was competent to transact other business, and was engaged therein; that general mania did not supervene until some time after. Partial insanity of this nature and degree could not invalidate the bond and deed. Shelford on Lunacy 260. If the evidence had established the incompetency alleged, the appellee would have been remitted to his rights and remedies on the bond previously existing by virtue of the act of March 17th, 1842, Sess. Acts, ch. 98. The appellants here are not materially concerned in the question whether the property shall be held liable under the deed of trust, or under the bond and the statute. When the original bill was filed, the complainant’s demand for more than the interest then due might possibly have been resisted on the principles of the case of Mayo v. Judah, 5 Munf. 495. At the time of the decree, however, the principal and interest had all become payable, and were properly decreed to the appellee. The decree omits to allow a credit for 7 dollars 22 cents, admitted in the bill to have been paid February 1st, 1836; correcting the decree in this particular, I am of opinion to affirm it in all other respects, with costs to the appellee.
The other judges concurred in the opinion of Samuels, J.
